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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF CONNECTICUT

CAROL L. OLIWA, Individually, and             )
CAROL L. OLIWA, Conservator for               )
JOSEPH S. OLIWA,                              )
                                              )
               Plaintiffs,                    ) Case No.: 3:14-cv-01870-JAM
                                              )
               v.
                                              )
                                              )
AMERICAN ADJUSTMENT BUREAU,                   )
INC.,                                         )
                                              )
               Defendant.                     )


                             STIPULATION TO DISMISS

TO THE CLERK:

        Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the

dismissal with prejudice without fees and cost to either party, other than as agreed to by

the parties.

   /s /Michael J. Dugan                              /s/ Angela K. Troccoli
   Michael J. Dugan                                  Angela K. Troccoli, Esquire
   Bar Id # 18669                                    Bar Id # ct28597
   Litchfield Cavo LLP                               Kimmel & Silverman, P.C.
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   dugan@litchfieldcavo.com                          atroccoli@creditlaw.com
   Attorney for the Defendant                        Attorney for the Plaintiff

   Date: March 26, 2015                              Date: March 26, 2015


                                     BY THE COURT:


                                     _________________________
                                     United States District Judge
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                           CERTIFICATE OF SERVICE

      I hereby certified that on March 26, 2015 I electronically the foregoing by using
the CM/ECF system, which will send notification to the following:

       Michael J. Dugan, Esq.
       Litchfield Cavo LLP
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       Avon, CT 06001
       dugan@litchfieldcavo.com


                                                  By: /s/ Angela K. Troccoli
